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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SULLIVAN2015 OK 15Case Number: SCBD-6244Decided: 03/30/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 15, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JOHN BERNARD SULLIVAN, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Complaint, and Journal Entry of Judgment, in which John Bernard Sullivan entered a plea of guilty to one count of Use or Possession of Drug Paraphernalia, in violation of K.S.A. 21-5710, a Class A Nonperson Misdemeanor, and in which the Court entered its sentence. The OBA also submitted a certified copy of the Journal Entry of Probation Revocation Hearing.
Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that John Bernard Sullivan is immediately suspended from the practice of law. John Bernard Sullivan is directed to show cause, if any, no later than April 10, 2015, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until April 21, 2015, to respond to John Bernard Sullivan should one be filed.
Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, John Bernard Sullivan has until May 7, 2015, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until May 25, 2015, to respond.
DONE BY ORDER OF THE SUPREME COURT this 30th day of March, 2015.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR




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